                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                              Consolidated Civil Action

RALEIGH WAKE CITIZENS
ASSOCIATION, et al.

                             Plaintiffs,

v.                                                               No. 5:15-cv-156

WAKE COUNTY BOARD
OF ELECTIONS,

                             Defendant.



CALLA WRIGHT, et al.,

                             Plaintiffs,

v.                                                               No. 5:13-cv-607

THE STATE OF NORTH CAROLINA,
et al.,

                             Defendants.



                                    Final Joint Exhibit List

       Plaintiffs respectfully submit Exhibit A, an amended and final version of the parties’

Joint Exhibit List.

       Respectfully submitted this 17th day of December, 2015.

                                                    /s/ Allison J. Riggs_______
                                                    Anita S. Earls
                                                    Allison J. Riggs
                                                    George E. Eppsteiner
                                                    SOUTHERN COALITION FOR SOCIAL JUSTICE
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                               CERTIFICATE OF SERVICE

     This is to certify that the undersigned has on this day electronically filed the foregoing
FINAL JOINT EXHIBIT LIST in the above-titled action with the Clerk of the Court using the
CM/ECF system, which on the same date sent notification of the filing to the following:

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       of Elections



       This the 17th day of December, 2015.

                                                   /s/ Allison J. Riggs_____
                                                   Allison J. Riggs

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